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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

Dynamite Marketing, Inc.                     )
                                             )       Case No. 18-cv-7760
v.                                           )
                                             )       Judge: Hon. John J. Tharp
THE PARTNERSHIPS and                         )
UNINCORPORATED ASSOCIATIONS                  )       Magistrate: Hon. Young B. Kim
IDENTIFIED ON SCHEDULE “A”                   )
                                             )
                                             )

                                      Voluntary Dismissal

       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the

undersigned counsel for plaintiff hereby notify this Court that the plaintiff, Dynamite

Marketing, Inc., voluntarily dismiss any and all claims against defendants without prejudice:

 Doe          Store            ID          URL
 15                       14414959 https://www.dhgate.com/store/14414959
              Vape Supplier
 16           Fidget Top  14775145 https://www.dhgate.com/store/14775145
 17           Summer_2017 20718488 https://www.dhgate.com/store/20718488

Dated: December 30, 2018
                                             Respectfully submitted,



                                             By:       s/David Gulbransen/
                                                     David Gulbransen
                                                     Attorney of Record

                                                     David Gulbransen (#6296646)
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